                      UNITED STATES BANKRUPTCY COURT FOR THE
                            MIDDLE DISTRICT OF ALABAMA


 IN RE:

 ALLEGRO LAW, LLC,                                        Case No. 10-30631-WRS
                                                          Chapter 7
           Debtor.


             TRUSTEE’S AMENDED WITNESS AND EXHIBIT LIST
                        For February 27, 2019 Hearing
 ______________________________________________________________________

        The following witnesses may be called to testify at the February 27, 2019, hearing in the
 above-captioned matter:

       1. Tim McCallan (Debtor)

       2. Jeannie McCallan

       3. Kellie Eckstein

       4. Allen Carroll

       5. Jeff Middleton

       6. Any witness listed on Defendant’s witness list.

       7. Any witness necessary for rebuttal testimony.

 In addition to the exhibits previously marked and identified in this adversary proceeding and
 related proceedings, as well as Defendant Tim McCallan’s underlying bankruptcy and related
 proceedings, as well as any exhibits identified by the defendants and not objected to by the
 Trustee, the following additional exhibits may be used at the February 27, 2019 hearing in the
 above captioned matter:

Exhibit                           Description
                                                                       Offered    Witness         Admitted
 No.
 644        Old Allegro Server Production
 645        New Allegro Server Production
 646        Screenshot evidencing data totals
 647        July 2006 Emails re Intermark
 648        Screenshot of main directories of new data produced by
            McCallan
     649    Answers of Defendants to Trustee’s Discovery requests in
            merits litigation

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     Case 10-30631      Doc 5747      Filed 02/25/19 Entered 02/25/19 14:06:04        Desc Main
                                       Document     Page 1 of 3
Exhibit                          Description
                                                                       Offered           Witness   Admitted
 No.
 650        MAS 200 production
 651        Bank Recap Report generated from MAS 200 production
 652        Transcripts from November 8-9, 2018 hearings
 653        Letter from Meredith Lees to Steve Olen dated 6-24-2013
 654        Email re Eric Jewelry invoice (produced by McCallan)
 655        Metals Rebut TX19 (produced by McCallan)
 656        Timothy McCallan Check History Report 1/1/07 –
            02/05/2014 (an excerpt of TX657, which was produced by
            McCallan)
     657    Timothy McCallan Check History Report 1/1/04 –
            02/05/2014 (produced by McCallan)
     658    Tim McCallan Income Statements 2007-2014 (produced
            by McCallan)
     659    McCallan Cash Deposits (produced by McCallan, but
            reformatted by date)
     660    McCallan Personal Financials (produced by McCallan)
     661    McCallan General Ledger Detail Report (produced by
            McCallan)
     662    Chris McCallan and Jeannie McCallan email dated 9-25-
            18 (produced by McCallan)
     663    McCallan Cash Deposits Spreadsheet (produced by
            McCallan, but reformatted to sort by date and include
            2007-2015 only)
     664    Seton Corp. General Ledger Detail Report 2008 –
            Distributions Account (SP043525-SP043528)
     665    Analysis of McCallan Deposit Schedule and Expenses


           Trustee specifically reserves the right to supplement and amend this Exhibit List.

                                                 Respectfully submitted,

                                                 /s Steve Olen
                                                 STEVE OLEN (OLENS7621)
                                                     ASB-7621-N64S
                                                 LUCY E. TUFTS (TUFTL1447)
                                                     ASB-1447-C52T
                                                 Cunningham Bounds, LLC
                                                 1601 Dauphin Street
                                                 Mobile, Alabama 36604
                                                 251-471-6191
                                                 251-479-1031 (fax)
                                                 Attorneys for Plaintiff Carly Wilkins




                                                    2 
  
     Case 10-30631      Doc 5747     Filed 02/25/19 Entered 02/25/19 14:06:04               Desc Main
                                      Document     Page 2 of 3
                                CERTIFICATE OF SERVICE

        I hereby certify that on this the 25th day of February, 2019, I electronically filed the
foregoing with the Clerk of the Court using the CM/ECF system which will send notification of
such filing to all counsel of record, as described below:

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                                             /s Steve Olen
                                             Steve Olen




                                                3 
 
    Case 10-30631   Doc 5747      Filed 02/25/19 Entered 02/25/19 14:06:04           Desc Main
                                   Document     Page 3 of 3
